     Case 3:16-cv-01025-L Document 172 Filed 04/11/18                        Page 1 of 3 PageID 2899


                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                       Dallas Division

    ASSOCIATED RECOVERY, LLC,                         §
         Plaintiff,                                   §
                                                      §
    v.                                                §                       Case No. 3:16-CV-1025-L
                                                      §               (Consolidated with Civil Action Nos.
                                                      §               3:17-CV-424-L and 3:17-CV-651-L)
    JOHN DOES 1-44, et. al.,                          §
         Defendants.                                  §


                               MOTION FOR VOLUNTARY DISMISSAL


TO THE HONORABLE COURT:

         COMES NOW, Plaintiff Associated Recovery, LLC, and would show the Court the

following:


1.       Plaintiff Associated Recovery, LLC, no longer wishes to prosecute the claims it is asserting

against Registrant Defendants SocialBon Inc., Floridians LLC, Media Options Inc., Telepathy Inc.,

News Ltd., JRS Holdings LLC, Sylvia O’Donohoe, Virtual Investments LLC, and Quinn Vesey

for breach of contract and recovery of attorneys’ fees, as set forth primarily in ¶ 49 of Plaintiff’s

Third Amended Complaint (Dkt 123), and therefore, moves the Court to dismiss those claims

without prejudice. 1


2.       None of the Registrant Defendants specifically identified in the preceding paragraph has

asserted any type of counter-claim against Plaintiff Associated Recovery, LLC.




1
          On April 11, 2018, the Court granted Plaintiff Associated Recovery, LLC’s motion for voluntary dismissal
of all claims asserted against Defendant Strong, Inc. with prejudice against refiling. See Dkt 171.

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MOTION FOR VOLUNTARY DISMISSAL                                                                         Page 1 of 3
  Case 3:16-cv-01025-L Document 172 Filed 04/11/18                  Page 2 of 3 PageID 2900


       WHEREFORE, PREMISES CONSIDERED, Plaintiff Associated Recovery, LLC,

respectfully request this Honorable Court to:


       1.      Dismiss the claims for breach of contract and recovery of attorneys’ fees Plaintiff

       Associated Recovery, LLC, is asserting against Registrant Defendants SocialBon Inc.,

       Floridians LLC, Media Options Inc., Telepathy Inc., News Ltd., JRS Holdings LLC, Sylvia

       O’Donohoe, Virtual Investments LLC, and Quinn Vesey without prejudice; and


       2.      Grant such other relief, both special and general, at law and in equity to which

       Plaintiff Associated Recovery, LLC is justly entitled.




                                                Respectfully submitted,

                                                /s/ Jack T. Jamison
                                                JACK T. JAMISON
                                                State Bar No. 10562550
                                                1509 Main St., No. 205
                                                Dallas, Texas 75201
                                                Tel: (469) 802-9451
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                                                jack@jackjamisonattorney.com

                                                ATTORNEY FOR PLAINTIFF
                                                ASSOCIATED RECOVERY, LLC




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MOTION FOR VOLUNTARY DISMISSAL                                                           Page 2 of 3
  Case 3:16-cv-01025-L Document 172 Filed 04/11/18                  Page 3 of 3 PageID 2901


                                  CERTIFICATE OF SERVICE

       On the 11th day of April, 2018, a true and correct copy of the foregoing document was
electronically submitted to the Clerk of Court for the United States District Court for the Northern
District of Texas, using the ECF system. I hereby certify that I have served the lead counsel for
each Defendant and each pro se Defendant through the Court’s electronic filing and service
system.

                                              /s/ Jack T. Jamison
                                              JACK T. JAMISON

                                              ATTORNEY FOR PLAINTIFF
                                              ASSOCIATED RECOVERY, LLC




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MOTION FOR VOLUNTARY DISMISSAL                                                            Page 3 of 3
